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                                Exhibit 1
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           [emblem]
        Chihuahua                                            STATE ATTORNEY GENERAL’S OFFICE
     STATE GOVERNMENT

                                                                    Investigation Case File No. 19-2018-28510
                                                                                             Date: May 25, 2020
                                                                                                 Time: 5:00 p.m.

                    ADDITION TO STATEMENT TO THE PROSECUTOR’S OFFICE
                            WITH CONFIDENTIAL IDENTITY CODE
                                                    56RT65PW7

   In the city of Chihuahua, Chihuahua, at 5:00 p.m. (five o’clock in the afternoon) on MAY TWENTY-
   FIFTH, IN THE YEAR TWO THOUSAND TWENTY, before the undersigned, Eduardo Cháirez Cos,
   Prosecutor for the Chihuahua State Attorney General’s Office, who acts pursuant to articles 21 of the
   Political Constitution of the United Mexican States, 118 and 119 of the Political Constitution of the State
   of Chihuahua, 131, 212, 213, 215, and 251 section X of the National Code of Criminal Procedure; as well
   as numbers 1, 2 paragraph B, and 12 of the Organic Law of the State Attorney General’s Office; and 19
   and 20 of its internal Regulations, there appears freely and voluntarily the person with confidential identity
   code 56RT65PW7, whose personal information is contained in a secret sealed envelope of this institution
   and is likewise available to the Court for the relevant purposes. He is informed of his right to appoint a
   Defense Attorney to assist him and may consult with that attorney regarding everything related to this
   proceeding; therefore MR. MARTÍN EDUARDO CASTAÑEDA is appointed in this act as his Defense
   Attorney, and he is present at the act, and states that his name is as written, and he may be notified at the
   same address as the declarant, his occupation is Attorney, with professional license number 5280133, and
   he states that at this time he accepts the conferred position and affirms that he will faithfully discharge his
   duties. Next, once he has the technical legal assistance of his defense attorney, he is informed of his
   constitutional and legal rights, established in article 20 paragraph B of the Political Constitution of the
   United Mexican States and numbers 113 and 114 of the National Code of Criminal Procedure, which state,
   respectively: “Article 20. […] B. Regarding the rights of all suspects: I. They will be presumed innocent
   until found guilty via judgment handed down by the judge in the case; II. They may make a statement or
   remain silent. They will be informed of the reasons for their arrest at the time of arrest, and of their right to
   remain silent, which may not be used against them. Holding them incommunicado or intimidating or
   torturing them is prohibited and will be sanctioned by criminal law. Confession made without the presence
   of the defense attorney will lack all probative value; III. They will be informed of the acts with which they
   are charged and their rights both at the time of arrest and at their appearance before the Prosecutor’s Office
   or judge. In the case of organized crime, the judicial authority will be able to authorize keeping the accuser’s
   name and information confidential. The law will establish benefits for the accused, defendant, or convict
   who effectively assists in the investigation and prosecution of organized crime; IV. Offered witnesses and
   other relevant evidence will be received, granting the time deemed necessary by law for that purpose and
   assisting to secure the appearance of the people whose testimony is requested, as set forth by law; V. They
   will be tried at a public hearing by a judge or court. Publicity may only be restricted in exceptional cases
   determined by law
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   for reasons of national security, public safety, protection of victims, witnesses, and minors, when the
   disclosure of legally protected information is put at risk, or when the court deems that there are well-founded
   reasons to justify it. In organized crime, the records made in the investigation phase may have probative
   value when they cannot be reproduced at trial or there is a risk to witnesses or victims. The foregoing is
   without prejudice to the right of the accused to object to or challenge them and provide evidence against
   them; VI. They will be provided all of the information requested for their defense that is recorded in the
   case. The suspect and their defense attorney will have access to the records of the investigation when the
   suspect has been arrested and when the intent is to take their statement or interview them. Likewise, before
   their first appearance before a judge they will be able to consult those records, with sufficient time to prepare
   a defense. From this time the proceedings of the investigation will not be able to be kept confidential, except
   in those exceptional cases expressly identified by law when it is essential to safeguard the success of the
   investigation and provided they are disclosed in a timely manner so as not to affect the right to a defense;
   VII. They will be tried within four months if the maximum penalty for the crimes in question does not
   exceed two years in prison, and within one year if the penalty exceeds that time, unless a longer period is
   requested for the defense; VIII. They will have the right to an adequate defense by an attorney, who they
   will freely choose even from the time of arrest. If they do not want to or cannot appoint an attorney, after
   having been asked to do so, the judge will appoint a public defender. They will also have the right for their
   defense attorney to appear in all acts of the case and the attorney will be obligated to do so as often as
   requested, and IX. In no case will imprisonment or detention be extended as a result of failure to pay defense
   attorney’s fees or for any other provision of money, due to civil liability, or any other similar reason. Pretrial
   detention may not exceed the maximum time of the penalty set by law for the crime that led to the case and
   in no event will it be longer than two years, unless its extension is a result of the suspect’s exercise of the
   right to a defense. If this term comes to an end without judgment having been rendered, the suspect will be
   immediately released while the case continues, without detriment to the imposition of other precautionary
   measures. All prison sentences imposed by judgment will count the time in custody. […]”; “Article 113.
   Rights of the suspect. The suspect will have the following rights: I. To be considered and treated as innocent
   until their guilt is proven; II. To communicate with a family member and with their Defense Attorney when
   they are arrested, and the Prosecutor’s Office must make every effort to help them achieve this; III. To
   make a statement or remain silent, with the understanding that their silence will not be able to be used
   against them; IV. To be assisted by their Defense Attorney at the time they make their statement, as well as
   during any other proceeding, and to consult privately with the attorney beforehand; V. To be informed at
   the time of arrest, as well as at their appearance before the Public Prosecutor’s Office or Due Process Judge,
   of the acts of which they are accused and their rights, as well as, where applicable, the reason for their
   detention and the public official who ordered it, showing them, as appropriate, the warrant issued for them;
   VI. Not to be subjected at any time during the proceeding to techniques or methods that threaten their
   dignity, induce or alter their free will; VII. To request before the judicial authority the modification of the
   precautionary measure that has been imposed, in event they are in pretrial detention, under the
   circumstances indicated in this Code; VIII. For the suspect and their attorney to have access, except as
   provided by law, to the records of the investigation, as well as to obtain a free copy, photographic or
   electronic record of the same, pursuant to articles 218 and 219 of this Code; IX. To receive the relevant
   evidence offered, being granted the necessary time for that purpose and assistance to secure the appearance
   of the people
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         Chihuahua                                           STATE ATTORNEY GENERAL’S OFFICE
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   whose testimony is requested and cannot be directly presented, as established in this Code; X. To be tried
   at a hearing by a trial court, within four months if the maximum penalty for the crimes in question does not
   exceed two years in prison, and within one year if the penalty exceeds that time, unless a longer period is
   requested for their defense; XI. To have an adequate defense by a lawyer or an attorney-at-law, with
   professional license, who may be freely selected from the time of arrest and, barring this, by the
   corresponding Public Defender, as well as to meet or talk with that attorney in strict confidentiality; XII.
   To be assisted at no charge by a translator or interpreter should they not understand or speak the Spanish
   language; when the suspect belongs to an indigenous group or community, the Defense Attorney must know
   their language and culture, and, if this is not possible, must be assisted by an interpreter of the culture and
   language in question; XIII. To be presented before the Prosecutor’s Office or before the Due Process Judge,
   as appropriate, immediately after arrest or apprehension; XIV. Not to be exhibited to the media; XV. Not
   to be presented to the community as guilty; XVI. To request from the time of their arrest, social assistance
   for minors or disabled persons whose personal care is their responsibility; XVII. To obtain their release
   should the arrest have been made without a pretrial detention order or other precautionary measure limiting
   their freedom; XVIII. To have the corresponding embassy or consulate informed upon arrest, and to be
   provided immigration assistance when they are a foreign national, and XIX. The rest as set forth in this
   Code and other applicable provisions. The terms to which section X of this article refer will be counted
   from the initial hearing to the time in which judgment is handed down by the competent Court. When the
   suspect has minors or disabled persons under their care, or adult dependents, and there is no one else to
   provide that care, the Public Prosecutor’s Office must direct them to the corresponding social welfare
   institutions so that they may receive protection.” “Article 114. Statement of the suspect. The suspect will
   have the right to make a statement at any stage of the proceeding. In this event, they will be able to do it
   before the Public Prosecutor’s Office or before the Court, with full respect for their rights and in the
   presence of their Defense Attorney. Should the suspect tell the Police they wish to make a statement
   regarding the acts under investigation, the Police must communicate this to the Public Prosecutor’s Office
   in order for the statements to be received with the formalities set forth in this Code.” As a result, once the
   content of the previous articles is read and the appearing party duly informed of his rights, he states that it
   is his wish to participate in this proceeding through his statement, so he is instructed to tell the truth before
   this authority and says that he will do so, and he is informed of his right to remain silent at any time, if any
   of the acts regarding which he is going to make a statement is prejudicial to him, to which the appearing
   party acknowledges that he is informed of this and he adds that his name and other general information is
   correct as they have been entered on the personal identification record sheet with confidential identity code.
   Next and with regard to the acts related to Investigation Case File 19-2018-28510, after a discussion with
   his attorney, he states that he is appearing before the Public Prosecutor’s Office to provide an addition to
   his statement as follows: As I already said in my previous statement dated December 8, 2018, I am afraid
   that the information provided puts my surroundings at risk, given its sensitive nature, specifically because
   I have been the victim of threats against my person, issued by the former governor himself, CESAR
   HORACIO DUARTE JAQUEZ, and also by people who have attempted to harm me, operating under the
   extensive networks of influence that this man has developed
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   throughout his career as a politician and that carried him to the governor’s office in the State of Chihuahua,
   in the 2010−2016 term. So, with regard to the threats of which I have been a victim, I want to state that as
   a result of the events that took place on March 20, 2017, after the death of CARLOS HERMOSILLO,
   following his unexpected roadway “accident,” and as a result of a leak so that CÉSAR DUARTE knew or
   was informed by GERARDO VILLEGAS that I was cooperating with the State authorities who were
   investigating acts of corruption that took place in the state government precisely when he was serving as
   governor in the 2010−2016 period, GERARDO VILLEGAS openly threatened me through a Blackberry
   text message on Thursday, March 23, with alleged criminal acts that he would make known about me. The
   next day, Friday, March 24, 2017, I received a call from CESAR DUARTE himself, summoning me to come
   as soon as possible, setting as a date the next Sunday, March 26, in the city of El Paso, Texas, in the United
   States of America, in a restaurant located in the Sunland Park area, very close to the shopping center of
   the same name, specifically the IHOP restaurant, we agreed to meet at one in the afternoon, so that Sunday
   the 26th I went to the meeting with my wife, we traveled by land from the city of Chihuahua, we crossed to
   El Paso, and we went to the indicated restaurant, and as soon as we arrived we went in and my wife and I
   were ordering coffee and in a few minutes CÉSAR DUARTE arrived, and he came alone, which led my wife
   to go to one of these stores that sell name-brand clothes at big discounts, Ross or Marshalls (one of these)
   and I stayed alone with former governor DUARTE, and at that time he asked me if it wouldn’t be better to
   go out walking in the parking lot of the plaza where the IHOP was located, and that’s what we did. Clearly,
   from the start, his gestures and attitude towards me were of anger and he had an aggressive tone, I had
   started the conversation regarding the accident and death of CARLOS HERMOSILLO, just the week before,
   to which he immediately said that CARLOS HERMOSILLO had been with him in El Paso a day before the
   accident, and that he had incidentally told him that he had seen me at the Mexico City airport two weeks
   before, and that I had avoided him, making my disapproval clear, which I told him had not been the case.
   Then DUARTE told me that he knew through several sources that he did not identify, that they had seen me
   meet with my attorney and that I was desperately trying for a State Government authority to receive me,
   and that he knew that I wanted to be a protected witness. He indicated to me in a joking and sarcastic tone
   that the concept did not exist, but he let me know that because I was acting in that regard, and because of
   what GERARDO VILLEGAS had told him, he wanted to know directly from me whether I was going to be
   with him or against him. And if it was the latter, that I would experience the consequences. I let him know,
   faced with a clear threat of that type, that all I wanted was to take care of my family and confronted with
   the questions that the authorities would ask me about various acts, I was going to be truthful. And right
   away he asked me what acts they could ask me about where I could be accused of some responsibility, and
   I started by referring to the FEPADE [Special Prosecutor’s Office for Electoral Crimes] case, in which I
   had been identified as arranging and carrying out the discounts in wages of State government workers in
   order to direct those funds to the Institutional Revolutionary Party (PRI), making him see that this had
   started in the year 2010 and not in 2012 when I entered. On that matter he responded to me that he wasn’t
   at all concerned since he had asked GUILLERMO DOWELL, then the State PRI chairman, to resolve the
   issue with the PRI National Executive Committee, and it was not all that serious. Next I let him know that
   GERARDO VILLEGAS had checked with him and he had authorized them to carry out a diversion of around
   400 million pesos with the company ONLINE S.A. de C.V., to which he said that he didn’t know anything,
   and as he had always said, he would always deny this and all of the other acts
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   attributed to him. So next I referred to another matter he knew about, and that was a transaction carried
   out by RICARDO YAÑEZ and ALEJANDRO GUTIERREZ, in which they diverted funds belonging to the
   public treasury of the State of Chihuahua, as much as 250 million pesos, that were allocated to the national
   PRI. Concerning this he told me that was RICARDO YAÑEZ’s problem, and that he was going to deny
   knowledge of everything that connected it to him. Finally, I told him that GERARDO VILLEGAS had
   previously told me about a case that I was not familiar with where they invoiced the Government of the
   State of Chihuahua for sham operations through a company called KEPLER S.A. de C.V., in the amount of
   120 million pesos. As in the previous cases, the former governor indicated to me that he didn’t know
   anything, and that he was always going to deny these acts, and he directly and bluntly reiterated, with
   anger towards me, that he was not responsible for any of this, and that where applicable, if I participated
   as a protected witness, that I was wrong and all they wanted was to use me in order to then prosecute me.
   During about an hour of rough and threatening conversation, he let me know that they were never going
   to be able to arrest him and on the contrary, there would come a time when he would first put the current
   Governor Javier Corral in prison, because he had the full support of the federal authorities, and he likewise
   let me know that he would get those federal authorities to go after me and put me in prison. Finally, and
   after these warnings and threats, he again told me that I would be better off with him and with that he shook
   my hand, with enough force to intimidate me, and concluded by asking me if I had stolen money to which I
   answered no, and he bluntly told me “me neither.” And that was the goodbye. He went back to his vehicle
   and I went to find my wife. And that is how this chapter with the former governor ended.
   I want to add that before that encounter I had in several calls and in some meetings with him and his family
   specific communication in which I was trying to get the process he was carrying out with the Office of the
   Attorney General of the Republic to finally arrive at a conclusion and decision in the UNION PROGRESO
   case, however this did not progress, and the final agreement with my attorney was that this meeting on
   Sunday, March 26, would be the last one with CESAR DUARTE, and that in it I would be clear about my
   future actions, completely separating myself from this man; nevertheless, that same Sunday, upon returning
   to the city of Chihuahua, it was already late, around 10 in the evening, I received a call on my cell phone
   from Mr. RICARDO SANCHEZ REYES RETANA, who was CÉSAR DUARTE’s defense attorney, telling
   me that it was urgent that I speak with GERARDO VILLEGAS, because they knew that the authority was
   investigating what he called a “big case,” and later he specified that it was a case involving the company
   ONLINE S.A. de C.V.—regarding the diversion of funds in a very high amount, which I already mentioned,
   totaling nearly $400 million pesos—and in view of that investigation I should go to Mexico City right away
   the next day, and I let him know that GERARDO VILLEGAS was no longer taking my calls, that it had been
   several days, to which he said that he would talk to GERARDO, to coordinate that meeting in Mexico City
   so we could come to an agreement to find an alternative that would allow us to avoid the charges since this
   case was for a very significant amount, even if it was necessary to create documents that did not exist in
   order to verify the payment of the diverted funds. And so GERARDO VILLEGAS got in touch with me right
   after I hung up with the attorney SANCHEZ REYES RETANA, and he told me that he and EVER AGUILAR
   would travel to Mexico City the next day, Monday, that they would leave early and wait for me there,
   without specifying a place to meet, just that they would be on Paseo de la Reforma, to which I said that I
   would have to check flight options as appropriate to see if it would be possible to
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   meet them, a situation that I had definitely decided would not happen. The next morning, it was March 27,
   2017, I sent a message to GERARDO VILLEGAS to ask him if they had agreed on a place for us to meet in
   Mexico City, but he did not reply to me, so I assumed he had turned off his cell phone. Around nine in the
   morning I contacted Mr. SANCHEZ REYES RETANA to see about the place where the meeting would be
   held, clarifying that as I already indicated, I had no intention of going, and then he told me that there was
   no longer a need to go to Mexico City because they had just arrested GERARDO VILLEGAS. And that
   same day there were more arrests, they also arrested JAVIER GARFIO PACHECO, who had been
   Secretary of Communications and Public Works, in the morning; and in the evening, RICARDO YAÑEZ,
   who held various positions and ended the 2010−2016 state administration as Secretary of Education, and
   GERARDO VILLEGAS himself had also been a public official as he held the position of Director General
   of Administration of the State Government Office of the Secretary of the Treasury. Just that same Monday
   afternoon, around 5 in the afternoon, I was at home, with my attorney, when I received a call on the home
   phone, and on answering it turned out that CÉSAR DUARTE was calling me, he told me that what was
   happening was “bullshit,” that what they had done to his nephew GERARDO VILLEGAS was bullshit, and
   then he asked me if I was covered, to which I replied yes, and he immediately hung up. I understand that
   he called the house to learn whether they had arrested me too. After this call, I never again had contact
   with CÉSAR DUARTE. The next day, March 28, it was published in some media outlets that an arrest
   warrant had been issued against CÉSAR DUARTE, and since then he has been a fugitive, perhaps hidden
   somewhere in the United States, which was the country where I saw him for the last time. Nevertheless, due
   to his political contacts and the corruption networks he developed, as well as his extensive financial
   capacity in large part because of the funds he obtained illegally, he may still have the influence to at any
   time carry out the threats that he made against me from that time that I saw him for the last time in El Paso,
   Texas, or they may harm my family, since he is a vindictive person.
   It is relevant to note that throughout this entire time, and above all stemming from the arrest of Mr.
   ALEJANDRO GUTIERREZ GUTIERREZ, Director General of Finance of the PRI National Executive
   Committee, in December of 2017, since a note was published in the national newspaper Reforma about that
   arrest—and I do not understand why my name was mentioned in it as a person who testified against Mr.
   GUTIÉRREZ and former governor DUARTE given that my identity was confidential—as a result of that
   Diario Reforma publication the threats against me were again renewed, even a friend of mine, a former
   representative named LAURA DOMINGUEZ, talked to me to tell me to be very careful because they were
   going to come after me, and that CÉSAR DUARTE still had federal support, from the then Office of the
   Attorney General of the Republic (PGR) and from the Ministry of Internal Affairs, to go after me. To the
   extent that on February 6, 2018, they arranged a meeting for me with ALFONSO NAVARRETE PRIDA,
   who at that time was in the Ministry of Internal Affairs, and the meeting took place in Bucareli, in Mexico
   City, and there NAVARRETE PRIDA told me to change my testimony to disassociate CÉSAR DUARTE and
   ALEJANDRO GUTIÉRREZ, and that in exchange they would give me a plea bargain. I refused this given
   that what he was asking from me was not the truth of the matter. And since I didn’t change my statement,
   that is what I said before the State authorities, which led to the arrest of ALEJANDRO GUTIÉRREZ
   GUTIÉRREZ, on February 9, they started an investigation against me in the then Office of the Attorney
   General of the Republic. And at that time the PGR told me that they had been instructed to go after me
   whatever the cost, and that they were going to
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   go after my family. All of these threats continued until the new federal administration came in, in December
   of 2018, from a party other than PRI, and they ended with the departure of Attorney General ALBERTO
   ELIAS BELTRAN, and the arrival of the new Attorney General ALEJANDRO GERTZ MANERO. And I am
   saying this to show the vast sphere of influence of former governor CESAR HORACIO DUARTE JÁQUEZ
   and his networks of complicity, which have sought to injure and harm me, including through the
   manipulation of public officials who instead of seeking justice, focused on trying to harm me and my family.
   This is all I have to say in this matter. Having nothing further to state, in this act he is informed of the
   content of article 256 of the National Code of Criminal Procedure, regarding cases in which Plea Bargains
   apply, which indicates in its section V as follows: “Article 256. […] When the suspect provides essential
   information useful for the prosecution of a crime more serious than the one of which they are accused […]”
   In addition, he is informed of his obligation to appear at the trial, as well as the obligation to communicate
   any change of address or residence. Next, after a conversation held with his attorney, he states: I
   acknowledge what you just told me and I promise to appear at trial if called and to give my testimony based
   on everything I have declared regarding these acts, and I likewise promise to communicate to this authority
   any change of address I might have. This is all I have to say. This is all he has to say. Next, the Suspect’s
   Defense Attorney is given the floor, and he says: I do not wish to make any type of statement. With the
   foregoing, this proceeding is concluded, and after the declarant reads this document in its entirety, he ratifies
   its content and states his agreement with it by affixing his fingerprint in the margin at the bottom of each
   page of this record, for the relevant purposes, and the Public Defender likewise signs, before the Prosecutor
   for the State Attorney General’s Office.


   [fingerprint]
   “56RT65PW7”
   Declarant


   [signature]
   MARTÍN EDUARDO CASTAÑEDA
   Defense Attorney


   [signature]
   EDUARDO CHÁIREZ COS
   Prosecutor




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                                         JTG, inc.                     1.703.548.7570 voice
                                         8245 Boone Boulevard          1.877.746.8906 toll free
                                         Suite 700                     1.703.548.8223 fax
                                         Vienna, Virginia
                                                                       jtg-inc.com
                                         22182




                                  CERTIFICATE OF TRANSLATION

    I,    Heather Oland              , certify that I am competent to translate this document, and
    that the translation is true and accurate, to the best of my abilities. Archival seals, stamps,
    and certifications have been translated here.

    Spanish file name:
    PRIORITY Anexo¿ Declaración Ministerial de 56RT65PW7

    English file name:
    PRIORITY Anexo¿ Declaración Ministerial de 56RT65PW7_T

    I certify under penalty of perjury, pursuant to 28 U.S.C. 1746, that the attached translation
    of the referenced file is true and correct.

    Executed this 14th day of July, 2020.

    _                             __________________
    Signature
